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                                               23-1059

                          United States Court of Appeals
                                                 for the
                                       Fourth Circuit

                        SOUTH CAROLINA STATE PORTS AUTHORITY,
                                                           Petitioner,
                            THE STATE OF SOUTH CAROLINA;
                        UNITED STATES MARITIME ALLIANCE, LTD.,
                                                           Intervenors,
                                                  – v. –
                          NATIONAL LABOR RELATIONS BOARD,
                                                         Respondent.
              INTERNATIONAL LONGSHOREMEN’S ASSOCIATION, LOCAL
               1422; INTERNATIONAL LONGSHOREMEN’S ASSOCIATION,
                                                                                  Intervenors.
                               ––––––––––––––––––––––––––––––
                          (For Continuation of Caption See Inside Cover)
                           ON PETITION FOR REVIEW OF AN ORDER OF THE
                               NATIONAL LABOR RELATIONS BOARD

                   JOINT BRIEF OF INTERVENORS
                INTERNATIONAL LONGSHOREMEN’S
                ASSOCIATION AND INTERNATIONAL
             LONGSHOREMEN’S ASSOCIATION, LOCAL 1422

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                    NATIONAL RIGHT TO WORK LEGAL DEFENSE
               FOUNDATION; CHAMBER OF COMMERCE OF THE UNITED
                STATES OF AMERICA; SOUTH CAROLINA CHAMBER OF
                      COMMERCE; NATIONAL ASSOCIATION OF
               MANUFACTURERS; SOUTH CAROLINA MANUFACTURERS
                     ALLIANCE; GOVERNOR HENRY MCMASTER
                                           Amici Supporting Petitioner.
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                         CORPORATE DISCLOSURE STATEMENT

              Pursuant to Federal Rule of Appellate Procedure 26.1(a) and Circuit Rule

        26.1(a)(1), the International Longshoremen’s Association certifies that it is an

        unincorporated labor organization that has no parent companies. No publicly held

        corporation owns 10 percent or more of the International Longshoremen’s

        Association.

        Dated: May 5, 2023
                                                      Respectfully submitted,

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                                    STATEMENT OF ISSUES

              1.     Whether the International Longshoremen’s Association (ILA) may

        resort to the court system to enforce its employers’ promise not to contract work

        outside of the coast-wide Master Contract bargaining unit. Specifically, whether the

        act of filing a lawsuit constitutes a threat or coercion within the meaning of Section

        8(b)(4)(ii)(B) of the National Labor Relations Act (NLRA or “Act”), and whether

        the employers are neutral, disinterested bystanders when the lawsuit alleges that the

        employers failed to preserve the work of the multi-employer coast-wide bargaining

        unit in violation of the no-subcontracting provision of the Master Contract.

              2.     Whether Article VII, Section 7, of the Master Contract between the ILA

        and the United States Maritime Alliance (USMX) violates Section 8(e) of the Act.

                                        INTRODUCTION

              In April 2021, the ILA sued its employers in New Jersey state court to enforce

        a promise not to contract out bargaining unit work. That promise was first made by

        ocean carriers—then called “steamship lines” in 1959—at the very dawn of the

        “container revolution”—and was given in exchange for the ILA’s agreement to

        handle the new shipping containers.        This promise has been renewed—and

        enforced—in every subsequent contract since then.

              Petitioner South Carolina State Ports Authority (SCSPA or “Petitioner”)

        asked the Board to bar the ILA from making its argument to the New Jersey court,
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        but the Board declined. 1 The Board noted that the Supreme Court of the United

        States has held that the Act cannot be used to deny a party’s access to the court

        system except in extremely limited circumstances not present here and that the ILA’s

        lawsuit relied on a work-preservation provision that has been repeatedly upheld as

        lawful to preserve bargaining unit work within the employers’ control. So the

        lawsuit, even if not ultimately successful, is not one that has an illegal objective.

              In asking this Court to overturn the Board, SCSPA ignores a wealth of

        precedent from the longshore industry, instead citing inapposite cases from other

        industries. Moreover, SCSPA seeks to overturn the work-preservation agreements

        that have provided the foundation for labor stability on the East and Gulf Coasts

        since 1977. But since the Board’s decision was correct and well-reasoned, the ILA

        should be allowed its day in court.

                                       FACTUAL BACKGROUND

              History of Containerization

              As this Court recognized in the 1980s, the advent of the shipping container

        revolutionized the shipping industry so that it was almost unrecognizable from what

        it had been two decades earlier. Am. Trucking Ass’ns, Inc. v. NLRB, 734 F.2d 966,



        1
         Citations of Petitioners Brief will be stated as “PB __.” Citations to the National
        Right to Work’s Amicus Brief will be stated as “NRWC __.” Citations to the
        Chamber of Commerce’s Brief will be stated as “CCB __.” Citations to Governor
        McMaster’s Brief will be cited as “GB __.”

                                                   2
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        968 (4th Cir. 1984). Prior to containerization, longshoremen transferred loose

        “break-bulk” cargo “piece by piece from the tailgate of the truck to the hold of the

        outgoing ship, checking it, sorting it, placing it on pallets, moving it by forklift to

        the side of the ship, and lifting it into the hold. Id. “Then in 1957 an event of

        enormous importance to the development of the shipping industry occurred: the first

        ‘containership’ took to the sea . . .” Id. at 969. Within decades, containerized cargo

        had taken over the shipping industry. See id. Its economic advantages “loomed

        large,” because by eliminating the need to transfer cargo piece by piece, container

        ships could be “loaded or unloaded in a fraction of the time required for a

        conventional ship.” Id. As a result, the period of the 1960s and 1970s was marked

        by much labor strife, including coast-wide strikes—the last of which was in 1977.

        Id. at 970-71.

              Containerization “drastically reduced [t]he amount of work available for

        longshoremen.” Univ. Maritime Serv. Corp. v. Wright, 155 F.3d 311, 316 (4th Cir.

        1998). It also encouraged a race to the bottom with carriers seeking out cheaper,

        non-union ports for cargo. Bermuda Container Line, Ltd. v. Int’l Longshoremen’s

        Ass’n, No. 97 Civ. 1257 (JFK), 1997 WL 795766, *5 (S.D.N.Y. Dec. 29, 1997).

        This structural realignment of container operations along the coast, and how it

        facilitated this race to the bottom, was aptly summarized by the Southern District of

        New York:



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                    With the advent of containerization, much of the need for
                    longshoremen disappeared. Instead of shippers needing
                    longshoremen to load and unload individual pallets, there
                    was now merely a need to load and unload just a few large
                    containers. Because containers were designed to be
                    hooked up to tractor-trailers and driven directly to their
                    destination, carriers were no longer bound by economic
                    necessity to ports of call closest to their customer. Carriers
                    could now call at ports with cheaper non-union labor, then
                    truck the goods the extra distance, and save money. . . . In
                    an attempt to protect jobs being lost by containerization,
                    the ILA recognized the need to transcend traditional
                    port-by-port bargaining. It began to bargain on a
                    multi-port basis. The result of this bargaining shift was
                    the two-step collective bargaining method described
                    above. (Master Contracts have become the vehicle to
                    maintain the longshoremen’s employment.)

        See id. (emphasis added); see also Int’l Longshoremen's Ass’n (Dolphin

        Forwarding, Inc.), 266 N.L.R.B. 230, 235, n.23 (1983), enforced in part & rev’d in

        part sub nom. Am. Trucking Ass’ns v. NLRB, 734 F.2d 966 (4th Cir. 1984), aff’d sub

        nom. NLRB v. Int’l Longshoremen's Ass’n, 473 U.S. 61 (1985) (“ILA II”) (the Board

        providing a similar description about how containerization caused the ILA to seek

        to “extend the framework of bargaining to a coast-wide basis.”).

               As a result of the dislocation caused by containerization, the ILA and its

        employers developed the Rules on Containers and the Containerization Agreement,

        both of which are still in the Master Contract, as Appendix A and Appendix B, and

        which were intended by the parties to preserve the bargaining unit’s work. JA0484-




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        0488; JA1333. Since then, these provisions and the other unique features of the

        Master Contract have insured labor peace and stability on the East and Gulf Coasts.

              The Master Contract’s Coast-wide Bargaining Unit

              Before containerization, the employers and the ILA and its locals negotiated

        separate agreements at individual ports on the Atlantic and Gulf Coasts. Int’l

        Longshoremen’s Ass’n (Bermuda Container Line), Case No. 4-CE-107, 1996 WL

        1250062, at *1 (Div. of Advice Dec 13, 1996). As it became clear that carriers were

        now able to easily transport their seaborne cargo to other ports, the bargaining unit

        was gradually extended to include ports coast-wide to avoid the circumvention of

        labor standards.2 Id.; JA0947-0948.

              Two-Tier Bargaining

              Collective bargaining on the East and Gulf Coasts evolved into a two-step

        process. Bermuda Container Line Ltd. v. Int’l Longshoremen's Ass'n, AFL-CIO, 192


        2
           Inter-port competition has always created downward pressure on longshore
        workers’ wages and benefits due to the transient nature of the cargo. See, e.g., New
        York Shipping Ass’n, Inc., 107 N.L.R.B. 364 (1953) (discussing bargaining of the
        parties—the ILA, terminal operators and steamship lines which moved cargo port to
        port—dating back to 1916). The ILA realized it needed to curtail employers from
        following the cheapest labor. See Douds v. Int’l Longshoremen’s Ass'n, 147 F. Supp.
        103, 107 (S.D.N.Y. 1956), aff’d, 241 F.2d 278 (2d Cir. 1957). Recognizing that
        steamship lines were able to quickly transfer their cargo to other ports, the ILA
        demanded that the bargaining unit include ports from Maine to Texas. Over the
        course of many Board proceedings and litigation the parties ultimately reached the
        first document named the Master Contract in 1960. See Int’l Longshoremen’s Ass’n
        v. NLRB, 277 F.2d 681, 683 (D.C. Cir. 1960) (remanding challenge to parties’
        expansion of the ILA unit through the Master Contract).

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        F.3d 250, 253 (2d Cir. 1999). The first step is when the USMX (on behalf of

        container carriers, marine terminal operators, and port associations) and the ILA (on

        behalf of its affiliated locals,) negotiate the coast-wide Master Contract.

        Longshoremen, ILA, 134 N.L.R.B. No. 125, slip. op. 8 (1961); JA0434. The second

        step is when local port employers (together with carriers) negotiate a supplemental

        local agreement to fill in remaining terms covering non-Master Contract cargo (such

        as breakbulk, automobiles,3 dry bulk, and wet bulk). See id; Bermuda Container

        Line, 192 F.3d at 253; JA0434.

               Master Contract Provisions

               Article I of the Master Contract sets forth important parameters about the

        scope of the agreement. It explains that “management” encompasses not only the

        marine terminal operators, but also the terminal operators’ customers—the ocean

        carriers.

                     Section 1. Management

                     The multiemployer Management group bound to the
                     Master Contract consists of the carriers, stevedores,
                     marine terminal operators, and port associations that are
                     members of USMX. . . .

        JA0433.

        3
          The amicus brief of the Governor of South Carolina states that “South Carolina
        leads the nation in exporting completed passenger vehicles.” GB at 13. Automobile
        cargo is not covered by the Master Contract, and as a result is not affected by this
        dispute. Leatherman Terminal is currently being used for automobile cargo and
        other cargo and the ILA has not challenged these practices.

                                                  6
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              The longstanding historical precedent of coast-wide bargaining between ILA

        and USMX is codified in Article I:

                    Section 2. Recognition.

                    Management recognizes the ILA as the exclusive
                    bargaining representative of longshoremen, clerks,
                    checkers, and maintenance employees who are employed
                    on ships and terminals in all ports on the East and Gulf
                    Coasts of the United States, inclusive from Maine to
                    Texas, and the ILA recognizes USMX as the exclusive
                    employer representative in such ports on Master
                    Contract issues.

        JA0434 (emphasis added.)

              Article I further recognizes that it is the full and complete agreement with

        respect to two types of cargo: container cargo and “ro-ro” cargo:

                    Section 3. Complete Labor Agreement.

                    This Master Contract is a full and complete agreement on
                    all Master Contract issues relating to the employment of
                    longshore employees on container and ro-ro vessels and
                    container and ro-ro terminals in all ports from Maine to
                    Texas at which ships of USMX carriers and carriers that
                    are subscribers to this Master Contract may call. . . .

        JA0434.    Thus, the Master Contract establishes the terms and conditions of

        employment for containerized and ro-ro cargo on a multiemployer, multi-port, coast-

        wide basis, including the Port of Charleston. JA0948, ll. 7-10.




                                                 7
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              The Coast-wide Bargaining Unit Includes Two Types of Employers

              The Master Contract recognizes two sets of employers: the terminal operators

        and the ocean carriers who agree to be bound by the Contract’s terms. JA0433. The

        USMX-represented carriers acknowledge that the loading and unloading work

        performed by the ILA bargaining unit members is performed for the benefit of both

        the terminal operator and the ocean carrier. In return, those members have agreed

        to contribute to the various Taft-Hartley employee benefit funds established under

        the Master Contract. Article IV of the Master Contract specifies that the carriers are

        obligated to make direct contributions to these various Taft-Hartley employee

        benefit funds. JA0439-0440. Likewise, the Master Contract assesses carriers for

        container royalty payments based on tonnage and capacity. JA0462-0463. The

        carrier’s container royalty assessments fund the longshoremen’s health and welfare

        fund, pension and fringe benefits, and provide financial assistance to local port

        funds. Id.

              Master Contract Employers Agree Not to “Contract Out” Bargaining
              Unit Work

               One of the key provisions in the Master Contract, from the very beginning,

        repeated and renewed in every Master Contract to date, is the employers’ promise

        not to contract out bargaining unit work to workers outside the bargaining unit.

        JA0484; JA0486.



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               Through this no-subcontracting agreement and other work preservation

        provisions, the parties reached a compromise that allowed for labor stability.

        Bermuda Container Line Ltd., 1997 WL 795766, at *5-6 (S.D.N.Y. Dec. 29, 1997).

        The ILA promised that it would perform the loading and unloading work as

        necessary on the carriers’ containers.         Conversely, USMX and its members

        promised that they would not give those containers to a subcontractor that would

        not guarantee that the loading and unloading of the carriers’ containers would be

        performed by the ILA-represented bargaining unit. 4 JA0484; JA1331-1332.

               Appendix A to the Master Contract (entitled, “Containerization Agreement”)

        contains the employers’ promise not to contract out work:

                     1. Management and the Carriers recognize the existing
                     work jurisdiction of ILA employees covered by their
                     agreements with the ILA over all container work which
                     historically has been performed by longshoremen and all
                     other ILA crafts at container waterfront facilities. Carriers,
                     direct employers and their agents covered by such
                     agreements agree to employ employees covered by their
                     agreements to perform such work which includes, but
                     which is not limited to:

                        (a) the loading and discharging of containers on and
                        off ships
                        (b) the receipt of cargo
                        (c) the delivery of cargo
                        (d) the loading and discharging of cargo into and out
                        of containers

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          A similar no-subcontracting clause is contained in Appendix B, “Rules on
        Containers.” JA0486. In this case, the ILA’s lawsuit specifically cites to the clause
        in the Containerization Agreement.

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                        (e) the maintenance and repair of containers
                        (f) the inspection of containers at waterfront facilities
                        (TIR men).

                    2. Management, the Carriers, the direct employers and
                    their agents shall not contract out any work covered by this
                    agreement. Any violations of this provision shall be
                    considered a breach of this agreement.
                                                 ...

                    9. Violations of Agreement: This Agreement defines the
                    work jurisdiction of employees and prohibits the
                    subcontracting out of any of the work covered hereby. It is
                    understood that the provisions of this Agreement are to be
                    rigidly enforced in order to protect against the further
                    reduction of the work force . . . The parties agree that the
                    enforcement of these provisions is especially important
                    and that any violation of such other provisions is of the
                    essence of the Agreement. The Union shall have the right
                    to insist that any such violations be remedied by money
                    damages to compensate employees who have lost their
                    work.

        JA0484.

              The Port of Charleston and The “Hybrid Model”

              The majority of port authorities on the East and Gulf Coasts operate under

        what has been described as the “landlord/tenant model.” JA0250-0251. Under that

        model, the authority does not actually operate the marine terminals; rather, the

        authority leases the marine terminals to private terminal operators. The port

        authorities that use this model include Boston, New York/New Jersey, Philadelphia,

        Wilmington, DE, Baltimore, Jacksonville, Port Everglades, Miami, and Mobile

        (among others). Id. A minority of East and Gulf Coast port authorities retain some

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        role in actually operating the marine terminals, including Houston, Virginia,

        Wilmington, NC, Charleston, and Savannah. JA0251-0253; JA0554. Houston and

        Virginia directly employ Master Contract bargaining unit employees for all

        container operations, but Wilmington, Savannah, and Charleston use something

        referred to as the “hybrid model.” JA0056-0057. In that model, some parts of the

        terminal’s operation are hired out to a private terminal operator, but other

        operational activities are retained by the public entity. Id.

              In the early days of containerization in the Port of Charleston, ILA-

        represented crane operators used shipboard cranes to move the containers to and

        from the dock, just as they still do today with breakbulk cargo. JA0269-0270.

        Through an accident of history, when shore-based cranes were introduced, they

        were operated by employees of SCSPA, not members of the bargaining unit;

        similarly, as other container handling machines were developed, they were also

        assigned to SCSPA employees. As a result, Charleston, along with Wilmington

        (NC) and Savannah, are the only ports on the East and Gulf Coasts in which cranes

        and container-lift equipment are not worked by members of the Master Contract

        bargaining unit. JA0947.

              So when a vessel docks at the two older container terminals in Charleston,

        Wando Welch Terminal and North Charleston Terminal, an SCPSA employee

        operating the shore-based crane moves the containers from the ship to a yard truck


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        operated by an ILA-represented employee, who then drives the container to a stack

        location, where another state employee, operating a lift machine, places the

        container in the stack for future delivery. JA0933, ll. 20-25. Even though this

        operation clearly violates the carriers’ no-subcontracting promise, the ILA had

        never enforced the agreement in those terminals. Id., ll. 10-14. All the same, these

        terminals were never specifically “carved out” of the coast-wide bargaining unit.

        JA0948, n. 32.

              2012 Master Contract Negotiations

              In 2012, during Master Contract negotiations, the bargaining parties tried to

        negotiate language that would address the anomaly of the three ports where Master

        Contract work was being contracted out of the unit by the ocean carriers. As a result,

        the parties negotiated the language in Article VII, Sections 7(a) and (b).

              At the hearing before the ALJ, ILA Executive Vice-President Dennis A.

        Daggett explained that Article 7, Section 7(a) was intended to “red-circle” the then

        current terminals in Wilmington, NC, Charleston, and Savannah. JA0297, ll. 9-16.

        In other words, the parties had agreed to preserve the status quo at the existing

        terminals that utilized the hybrid model. Recognizing that it had not fully enforced

        the Master Contract at those locations, the ILA agreed to continue to forebear from

        enforcing the no-subcontracting provision at those specific terminals in order to

        avoid disruption for all parties. Id.; JA0298, ll. 7-12.



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              The parties also agreed to the language contained in Article 7, Section 7(b).

        That provision reads as follow:

                    USMX agrees to formally notify any port authority
                    contemplating the development of or intending to develop
                    a new container handling facility that USMX members
                    may be prohibited from using that new facility if the work
                    at that facility is not performed by Master Contract
                    bargaining-unit employees.
        JA0449 (emphasis added).

              The ILA understood that this subsection meant that the Master Contract’s

        general prohibition on contracting out bargaining unit work would be enforced at

        any new terminal in the same way that it was being enforced elsewhere on the East

        and Gulf Coasts, because the ILA wanted to prevent any further loss of bargaining

        unit work. JA0923-0924.

              Hugh K. Leatherman Terminal

              The Hugh K. Leatherman Terminal is a newly developed container-handling

        facility located in North Charleston. JA0933, ll. 2-8. It is being built in phases with

        three berths planned. This expansion of the port capacity is intended to attract new

        discretionary cargo from other Master Contract ports and elsewhere. JA0053, ll. 1-

        4. Discretionary cargo is cargo that can move to one or more ports based upon

        inland economics. JA0949, n. 34. Like every port, Charleston has made the

        attraction of additional discretionary cargo a primary goal. JA0581, ll. 16-19

        (Senator Hugh K. Leatherman states on a phone call surreptitiously recorded by

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        SCSPA: “I've fought tooth and toenail to keep Savannah from continuing to grow,

        trying to attract away our carriers and trying to grow. . .”) 5.

                 As the opening of the new terminal was looming, the ILA met with USMX to

        seek assurances that it would abide by the Master Contract’s no subcontracting

        provision at all new terminals on the East and Gulf Coast—including Leatherman.

        When it became clear that the ILA and USMX might have a dispute, the ILA asked

        to arbitrate the issue but USMX refused. JA0936, n. 18.

                 On March 30, 2021, the Leatherman Terminal opened for business—the first

        new terminal in recent memory anywhere on the East and Gulf Coasts. JA0937, ll.

        23-24.       On April 9, 2021, a Hapag-Lloyd vessel was the first ship to dock at

        Leatherman Terminal to deliver containerized cargo. Id., ll. 28-29. Although this

        was a violation of the Master Contract’s no-subcontracting clause, consistent with

        assurances given by the ILA, the ship was worked by ILA labor without any

        interruptions. Id. Nor were there any job actions in any other container terminal

        in the Port of Charleston. Id. On April 21, 2021, another container vessel from

        Orient Overseas Container Line (OOCL) berthed at Leatherman. Id., ll. 30-31.

        Again, despite the fact that this was another violation, the ILA worked that ship

        without work stoppages. Id. Moreover, there is no allegation of any strikes,




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            The recording cuts off at this point.

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        slowdowns, picketing, or job actions at any Charleston terminal—including

        Leatherman—to date.

              The Lawsuit

              On April 22, 2021, the ILA filed a lawsuit in the Superior Court of New Jersey

        against USMX and Hapag-Lloyd, a Master Contract employer, seeking contractual

        damages—but no injunctive relief— on the grounds that Hapag-Lloyd’s decision to

        contract with non-bargaining unit labor at Leatherman Terminal violated the no-

        subcontracting provision of the Master Contract. JA0514. The lawsuit did not

        mention Article VII, Section 7(b). Rather, the lawsuit alleged a violation of the no-

        subcontracting provision found in Section 2 of the Containerization Agreement.

        JA1328; JA0937, ll. 30-36. On April 26, 2021, the ILA amended its complaint to

        add OOCL as a defendant. JA0938, ll. 12-16. The lawsuit did not name SCSPA as

        a defendant, nor did it name the terminal operator in Charleston, Charleston

        Stevedoring Company (“CSC”). JA0547. That lawsuit has since been removed to

        the United States District Court for the District of New Jersey and is currently stayed

        during the pendency of the instant dispute. JA0945, n. 27.

              The ILA’s lawsuit alleges that Master Contract employer carriers must abide

        by their contractual promise not to subcontract to marine terminals that do not hire

        Master Contract unit employees for all work covered by the Master Contract, or else

        pay damages. JA0529. Paragraph 26 of the complaint states as follows: “Upon



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        information and belief, USMX and Hapag Lloyd’s recent actions presage future

        diversion of discretionary cargo from the Master Contract bargaining unit to

        workers outside the bargaining-unit specifically to avoid the cost of paying Master

        Contract wages and benefits.” JA0510.

                                     PROCEDURAL HISTORY

              The ILA relies on the Procedural History set forth in the Board’s brief.

                                    SUMMARY OF ARGUMENT

              Under the highly deferential standards that restrict this Court’s review, the

        Board’s findings and rulings should be upheld and the petition for review should be

        dismissed.

              For decades, the no-subcontracting clause in the Master Contract has provided

        for labor peace on the East and Gulf Coasts. In 2021, when two USMX carrier

        members risked disrupting that stability by calling at Leatherman Terminal, the ILA

        sued in state court for breach of contract. The lawsuit does not seek to acquire any

        new work; it merely asks the court to hold USMX signatory carriers to their promise

        not to contract bargaining unit work outside the ILA’s bargaining unit.

              This lawful exercise of the ILA’s First Amendment rights cannot violate the

        Act. As the Supreme Court has ruled, the Board generally is precluded from finding

        that a party’s petitioning conduct constitutes an unfair labor practice. Bill Johnson’s

        Restaurants, Inc. v. NLRB, 461 U.S. 731 (1983). Moreover, the lawsuit cannot


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        violate the Act’s proscriptions against secondary activity because it seeks to keep

        Master Contract work (the loading and unloading of containers) inside the ILA’s

        coast-wide bargaining unit.    It is well-settled that the Master Contract’s no-

        subcontracting clause is a valid, work-preservation agreement that covers a single,

        multi-employer bargaining unit along the East and Gulf Coasts. And, consistent

        with Supreme Court precedent on the very same ILA Master Contract bargaining

        unit, the ILA’s effort to enforce the no-subcontracting clause to preserve its

        traditional container work encompasses a run-of-the-mill “straightforward primary

        dispute” between the ILA and its USMX employers. See JA1333.

              Substantial evidence also supports the Board’s finding that Section 7(b) did

        not constitute an agreement to cease doing business with SCSPA.

                                   STANDARD OF REVIEW

              The ILA relies on the Standard of Review set forth in the Board’s brief.




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                                            ARGUMENT

                                                  I.

                   THE BOARD CORRECTLY HELD THAT THE ILA’S
            ATTEMPT TO ENFORCE A WORK-PRESERVATION AGREEMENT IN
                 ITS COAST-WIDE MASTER CONTRACT WAS LAWFUL

        A.     The Filing of the Lawsuit Cannot Constitute Coercion Under the Act

               1.    In order to claim a violation of Section 8(b)(4)(ii)
                     SCSPA must show a threat or coercion

               To prove a violation of Section 8(b)(4)(ii), two separate independent elements

        must be shown. First, the union must be shown to have engaged in prohibited

        conduct: “threaten, coerce, or restrain.” Second, the union must also have engaged

        in that conduct for one of the statutorily enunciated prohibited (“secondary”) objects.

        29 U.S.C. 158(b)(4); Kentov v. Sheet Metal Workers Int’l Ass’n, Local 15, 418 F.3d

        1259, 1263 (11th Cir. 2005). If one of these prongs is not met, a claim under Section

        8(b)(4)(ii)(A) or (B) fails. See Local 829, Bhd. of Painters & Allied Trades v. NLRB,

        762 F.2d 1027, 1032 (D.C. Cir. 1985). 6


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          One statutory provision that is undisputedly not implicated in this case is Section
        14(b) of the Act, which allows individual states to enact so-called “right to work”
        laws. It is curious, therefore, that National Right to Work Committee (NRWC) took
        it upon itself to write an amicus brief. NRWC’s argument seems mainly to be based
        upon the mistaken belief that the ILA’s enforcement of the Master Contract will
        somehow cause state workers to lose their jobs, but this fear is baseless given that
        the ILA has agreed to leave the existing terminals undisturbed. Unfortunately,
        NRWC finishes its argument by attempting to impugn the integrity of ILA members
        in Charleston. NRWC does this by citing cases involving long-dead people who
        spent their lives and careers far from Charleston, and by describing a case of

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              The Supreme Court has explained that the words “threaten, coerce or restrain”

        “are ‘nonspecific, indeed vague,’ and should be interpreted with ‘caution’ and not

        given a ‘broad sweep.’” Edward J. DeBartolo Corp. v. Fla. Gulf Coast Building

        Trades Council, 485 U.S. 568, 578 (1988). In reviewing the legislative history, the

        Supreme Court found that the only activity that clearly was meant to be included in

        those words was “ambulatory picketing.” Id. at 587. In this case, the only act that

        SCSPA alleges was coercive is the ILA’s lawsuit. If the lawsuit is not coercive

        under the Act, then SCSPA’s claim fails altogether.

              But SCSPA ignores all this precedent when it argues: “ILA’s lawsuit plainly

        had an unlawful object: coercing USMX and its carriers-members to cease doing

        business with SCSPA at Leatherman terminal . . .” PB at 28-29. First, SCSPA’s

        argument makes no distinction between primary and secondary conduct: it is by no



        employer fraud in Tampa as if it was the fault of the union. NRWC’s
        characterization of the ILA in Charleston is unjust. The ILA has a long and proud
        history of advocating for both labor rights and civil rights in South Carolina, and as
        a result, has the well earned respect of the Charleston community. See Charleston's
        Longshoremen: Organized Labor In The Anti-Union Palmetto State, Eli A.
        Poliakoff, THE SOUTH CAROLINA HISTORICAL MAGAZINE, Vol. 103, No. 3 (Jul.,
        2002), pp. 247-264 (South Carolina’s “political and business leaders have
        consistently worked to prevent the development of a strong labor presence . . . Yet
        since 1869 organized Charleston longshoremen have overcome South Carolina's
        racial dynamic and anti-union sentiment to maintain economic, political and social
        influence unsurpassed in the state's labor community. From its earliest days this
        predominately African American union has enjoyed significant links with local
        political and business elites . . . Charleston longshoremen used solidarity forged by
        racial prejudice to disarm anti-union pressures.”).

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        means unlawful for a union to take steps to coerce its own employers to abide by

        their contractual promises. But SCSPA also fails to explain how merely filing a

        lawsuit is “coercive,” either as that term is used in the Act, or in light of the First

        Amendment concerns explicated by the Supreme Court. Thus, even though SCSPA

        does not appeal the Board’s ruling that the no-subcontracting clause is a lawful work

        preservation agreement, SCSPA seeks to nullify it by making it impossible to

        enforce. Work preservation clauses only need to be enforced when workers from

        outside the bargaining unit are doing (or threatening to do) bargaining unit work;

        thus, they always cause cessation of business.

              2.     The Board Correctly held that the ILA’s lawsuit was protected by
                     the First Amendment

              Here the Board correctly held that the ILA’s lawsuit was protected by the First

        Amendment pursuant to the Supreme Court’s decision in Bill Johnson’s

        Restaurants, 461 U.S. 731. Specifically, the Board observed as follows:

                     To protect the fundamental First Amendment right to
                     petition the government for redress of grievances, the
                     Supreme Court has placed limits on the Board’s authority
                     to find that a lawsuit constitutes an unfair labor practice.
                     The Board may not make such a finding unless the lawsuit
                     is both objectively baseless and retaliatory or the lawsuit
                     “has an objective that is illegal under federal law.”

        JA1329-1330, quoting Bill Johnson’s, 461 U.S. at 737 fn. 5. The Board went on to

        examine whether the ILA’s lawsuit was “illegal under federal law”, and concluded




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        that the lawsuit did not have an illegal objective, and therefore, was not an unfair

        labor practice. JA1330.

              3.     Resort to the courts is not coercive in general

              As a preliminary matter, even before the Supreme Court performed its First

        Amendment analysis in Bill Johnson’s, 461 U.S. 731, both the Board and the courts

        had recognized that a lawsuit is fundamentally different from the conduct that

        Congress intended to be considered coercive under Section 8(b)(4)(ii). For example,

        in the construction industry, where hot-cargo agreements are legal, such agreements

        still may not be enforced in a way that violates Section 8(b)(4)(ii). Nevertheless,

        courts and the Board routinely held that such agreements may be enforced by resort

        to the courts, because legal action is not “coercion” as that term is used by Section

        8(b)(4)(ii). The same reasoning is applied to lawful work preservation agreements—

        such as this one—in industries other than construction. Commerce Tankers Corp. v.

        Nat’l Maritime Union, 553 F.2d 793, 802 (2d Cir. 1977) (“With respect to the claim

        under § 303, we agree with the judge’s determination that ‘resort to the courts’ is not

        a threat, coercion or restraint under § 8(b)(4)(ii).”); Carrier Air Condit. Co. v. NLRB,

        547 F.2d 1178, 1191 (2d Cir. 1976) (resort to courts “does not constitute the sort of

        coercion that Congress intended to make unlawful”); Local Union No. 48, Sheet

        Metal Workers Int’l Ass’n v. Hardy Corp., 332 F.2d 682, 686 (5th Cir. 1964) (“We

        believe that the Congress used ‘coerce’ in the section under consideration as a word


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        of art, and that it means no more than non-judicial acts of a compelling or restraining

        nature, applied by way of concerted self-help consisting of a strike, picketing or

        other economic retaliation or pressure in a background of a labor dispute.”);

        Operating Eng’rs, Local Union No. 12, 220 N.L.R.B. 530 (1975) (“a lawsuit for

        punitive damages does not amount to impermissible restraint or coercion within the

        meaning of Section 8(b)(4)(ii) because Section 8(b)(4)(ii) was not intended to be

        applied to the use by a union of a lawsuit to enforce a hot cargo agreement.”);

        Laborer’s Local No. 89, 230 N.L.R.B. 638, 639 (1977) (in a lawsuit to enforce a

        collective-bargaining agreement that was arguably contrary to Section 8(e) “[t]he

        lawsuit, irrespective of motivation for its filing, is simply not coercive within the

        meaning of Section 8(b)(4)(ii).”); Sheet Metal Workers, Local Union No. 49, 206

        N.L.R.B. 473 (1973) (“attempted establishment of an unlawful interpretation to a

        subcontracting agreement [is] ‘not sufficient to taint [a] lawsuit with illegality. . .’”).

              Therefore, the Supreme Court’s decision in Bill Johnson’s, 461 U.S. 731

        (1983), was wholly consistent with the Board’s and the courts’ prior decisions. In

        Bill Johnson’s, the Board had ruled that an employer violated Section 8(a)(1) of the

        Act—which prohibits employers from retaliating against employees for exercising

        their statutory rights—by filing a state-court lawsuit intended to retaliate against

        employees for their protected conduct. 461 U.S. at 737-41. However, the Supreme

        Court reversed the Board’s ruling based on the “weighty countervailing


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        considerations” of the First Amendment and the constitutional right to petition. Id.

        at 741-43. The Court stated:

                    We should be sensitive to these First Amendment values
                    in construing the NLRA in the present context. As the
                    Board itself has recognized, “going to a judicial body for
                    redress of alleged wrongs . . . stands apart from other forms
                    of action directed at the alleged wrongdoer. The right of
                    access to a court is too important to be called an unfair
                    labor practice solely on the ground that what is sought in
                    court is to enjoin employees from exercising a protected
                    right.”

        Id. at 742 (quoting Peddie Buildings, 203 N.L.R.B. 265, 272 (1973), enf. denied on

        other grounds, NLRB v. Visceglia, 498 F.2d 43 (3d Cir. 1974)).

              After Bill Johnson’s, courts and the Board concluded that lawsuits do not

        constitute coercion under 8(b)(4)(ii) except in the very narrow circumstances where

        a lawsuit has an “objective that is illegal under federal law.” See, e.g., Brown &

        Root, Inc. v. La. State AFL-CIO, 10 F.3d 316, 320 (5th Cir. 1994) (coercion means

        “nonjudicial acts”); Int’l Longshore & Warehouse Union v. NLRB, 884 F.2d 1407,

        1413-14 (D.C. Cir. 1989) (“under section 8(b)(4)(B) a union bringing a lawsuit to

        enforce contractual rights does not engage in ‘coercion’ . . . [unless the lawsuit]

        present[s] an irreconcilable conflict between a Board order and contractual

        remedies.”); Gold v. Mid-Atlantic Reg’l Council of Carpenters, 407 F. Supp. 2d

        719, 725 (D. Md. 2005) (“The NLRB has defined this ‘coercion’ element as

        ‘nonjudicial acts of a compelling or restraining nature, applied by way of concerted


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        self-help consisting of a strike, picketing, or other economic retaliation and pressure

        in the background of a labor dispute.’”); Int’l Ass’n of Heat & Frost Insulators,

        Local 14¸ 4-CB-4669, 1983 WL 29431 (N.L.R.B. Div. of Advice 1983) (under

        Operating Engineers Local 12, and after Bill Johnson’s, union’s lawsuit for punitive

        damages was not a threat or coercive act).

              It bears repeating that in this case, SCSPA has not alleged, nor does the record

        show, any “non-judicial” acts. This appeal springs from the ILA’s attempt to enforce

        the Master Contract by means of a lawsuit. Petitioner and its amici cite to cases

        involving work stoppages, walkouts, and picketing, but none of those job actions are

        present in this case.

              4.     The ILA’s lawsuit does not have an illegal objective

              The D.C. Circuit has explained that under Bill Johnson’s, a union’s lawsuit

        cannot have an “illegal objective” if the lawsuit seeks to enforce a legal provision of

        a contract. Truck Drivers Union Local 705 v. NLRB, 820 F.2d 448, 452 (D.C. Cir.

        1987) (“It is irrelevant under Bill Johnson’s whether Local 705's motive in filing the

        grievance was to impose secondary pressure on Emery. If the grievance had an

        unlawful objective, the contract provision sought to be enforced must itself have

        been illegal.”); see also Hirsch v. Local Lodge 724, Int’l Ass’n of Machinists, 1992

        WL 6753 (E.D. Pa. Jan. 14, 1992) (when interpreting the Master Contract, the court

        held: “in order for a labor lawsuit or grievance to have an illegal objective under

        federal law, the specific contract provision sought to be enforced in the action must


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        be one that constitutes an unfair labor practice under Section 8(b)(4)(ii)(A) of the

        Act, i.e., the contract provision must itself be illegal”).7
              In other words, a union cannot be foreclosed from petitioning the courts to

        enforce a lawful contractual provision, before any discovery is obtained, and

        before a court has had the chance to consider the merits. See Bill Johnson’s, 461

        U.S. at 745-46. (“If there is a genuine issue of material fact that turns on the

        credibility of witnesses or on the proper inferences to be drawn from undisputed

        facts, it cannot, in our view, be concluded that the suit should be enjoined.”).

        B.    The ILA’s Lawsuit Has A Work-Preservation Object And Is
              Therefore Primary

              When examining the Rules on Containers 8 in the Master Contract, the

        Supreme Court enunciated the test for a lawful work preservation agreement:




        7
          SCSPA confuses two concepts: on the one hand, the “objective that is illegal under
        federal law,” defined by the Supreme Court in Bill Johnson’s, and on the other hand,
        the secondary “object” that is set forth in the Act. The two concepts are not the
        same. A secondary object is only illegal under that statute when it is accompanied
        by some prohibited conduct—such as coercion, but lawsuits are not coercive unless
        they have an “objective that is illegal under federal law.” Bill Johnson’s, 461 U.S. at
        737 n.5. A secondary object, however, is not an intrinsically illegal object; it is only
        illegal if accompanied by prohibited conduct. Thus, the lawsuit must have
        something on its face that marks it as illegal from the start in order to be an unfair
        labor practice. See Local 32B-32J, Service Employees Int’l Union v. NLRB, 68 F.3d
        490, 496, (D.C. Cir., 1995) (distinguishing lawsuits seeking a contractual
        interpretation that would not “necessarily result in an illegal hot cargo agreement”
        from “suits that were unlawful from the start” (emphasis added)).
        8
         The Rules on Containers are incorporated by reference within the Containerization
        Agreement.

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                    [A] lawful work preservation agreement must pass two
                    tests: First, it must have as its objective the preservation of
                    work traditionally performed by employees represented by
                    the union. Second, the contracting employer must have the
                    power to give the employees the work in question—the so-
                    called “right of control” test of Pipefitters, supra. The
                    rationale of the second test is that if the contracting
                    employer has no power to assign the work, it is reasonable
                    to infer that the agreement has a secondary objective, that
                    is, to influence whoever does have such power over the
                    work. “Were the latter the case [the contracting employer]
                    would be a neutral bystander, and the agreement or
                    boycott would, within the intent of Congress, become
                    secondary.”
        NLRB v. Int’l Longshoremen’s Ass’n, 447 U.S. 490, 504–505 (1980) (“ILA I”),

        (quoting Nat’l Woodwork Manuf. Ass’n v. NLRB, 386 U.S. 612, 644–645 (1967).
              An agreement requiring the contracting employer to preserve the work of its

        bargaining unit employees by a no-subcontracting clause has long been recognized

        as one type of primary activity. ILA I, 447 U.S. at 507; Nat’l Woodwork, 386 U.S.

        at 645 (“[U]nions and employers are entitled to negotiate contracts that ‘preserve’

        unit work by way of no-subcontracting or similar clauses, even if the enforcement

        of such agreements may cause the contracting employer to cease doing business

        with someone else”) (emphasis in original); see Milk Drivers Local 753 (Pure Milk

        Ass’n), 141 N.L.R.B. 1237, 1240 (1963), enf’d, NLRB v. Milk Wagon Drivers, Local

        753, 335 F.2d 326 (7th Cir. 1964); see N.Y. Presbyterian Hosp., 354 N.L.R.B. 71,

        77 (2009), aff’d on other grounds, N.Y. Presbyterian Hosp. v. NLRB, 649 F.3d 723

        (D.C. Cir. 2011) (citing Nat’l Woodwork Manuf. Ass’n, 386 U.S. 612). Such a


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        dispute is clearly primary because it is between the union and its members’ own

        employer affecting the labor relations of the contracting unit. Even though the

        agreement results in the employer’s cessation of business with a third party, this

        effect does not alter the basic primary nature of the agreement. ILA I, 447 U.S. at

        507 n.22.

              Applying the test from ILA I, the Board found here that the ILA’s lawsuit to

        enforce its no-subcontracting clause was lawful:
                    Here, as in the ILA cases, ILA is seeking to preserve the
                    traditional work and the jobs of unit employees in the face
                    of the technological advances affecting the coastal units,
                    including such changes as at the new Leatherman
                    Terminal. That ILA seeks to stop expansion of the hybrid
                    work model is merely one facet of preserving work for the
                    employees it represents. ILA, USMX, and USMX carrier
                    members are parties to the contract and any one of them
                    may seek to enforce it to reap the benefit of that party’s
                    perceived bargain.
        JA1332.
              The Board’s decision is supported by substantial evidence. In fact, the Board

        could hardly have concluded otherwise. As shown below, (1) SCSPA does not

        dispute that the ILA’s coast-wide bargaining unit currently performs the lift

        equipment work the lawsuit seeks to preserve within the unit; and (2) this Court has

        already ruled that “the argument that the shipping lines do not have the right to

        control the container work sought by the longshoremen lacks any semblance of

        merit.” Am Trucking Ass’n, Inc., 734 F.2d at 968.




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               Nevertheless, SCSPA tries to make an argument that even Member Ring

        demurred from making: namely, that the ILA’s lawsuit does not seek to preserve

        the unit’s traditional work, but rather “seeks to acquire new work . . . at the Port’s

        Leatherman Terminal.” PB at 32. But that quotation shows the false premise on

        which SCSPA bases its argument. There is no work at Leatherman unless the

        carriers choose to bring their containers there, and the carriers have already

        promised those containers to the bargaining unit.
              1.     The Board rightly held that the ILA’s lawsuit seeks to preserve
                     traditional work of the ILA’s coast-wide unit
                     a)      The proper inquiry must focus on the work performed by the
                             coast-wide bargaining unit
               SCSPA does not dispute the cases that find that Master Contract’s no-

        subcontracting provision is a lawful work preservation clause.9 Moreover, SCSPA

        admits that the Master Contract embraces a multiemployer, coast-wide bargaining

        unit. PB at 35.10


        9
           In its opening brief, SCSPA does not dispute either (1) that the ILA’s no-
        subcontracting clause in the Master Contract is a valid work preservation clause; or
        (2) that the Master Contract covers a single, multi-employer bargaining unit across
        the East and Gulf Coasts. Thus, any contentions to the contrary are waived. See
        Hensley v. Price, 876 F.3d 573, 581 n.5 (4th Cir. 2017) (Under the Rules of
        Appellate Procedure, waiver is analyzed based on the content of the opening brief;
        again, ‘[a brief’s argument section] must contain . . . [the] appellant’s contentions
        and the reasons for them, with citations to the authorities and parts of the record on
        which the appellant relies.’”).
        10
          The longshore bargaining units on both coasts are multi-port, multiemployer, and
        coast-wide. E.g., Am. Pres. Lines v. Int’l Longshore & Warehouse Union, 611 F.
        App’x 908, 911 (9th Cir. 2015) (“[W]e evaluate whether the [longshore] union’s
        objective is the preservation of work traditionally performed by ‘bargaining unit’

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              Also, although SCSPA argues that the objective of the ILA’s lawsuit is work

        acquisition, SCSPA cannot point to a single allegation from the lawsuit’s papers.

        The lawsuit does not name either CSC or SCSPA as defendants and thus seeks no

        relief from them. The lawsuit does not seek the assignment of jobs at Leatherman

        or anywhere else.    Indeed, the lawsuit seeks no injunctive relief at all—only

        damages from those carriers who violated their contract. The text of the ILA’s

        complaint describes the work in the same terms as the Board: loading and unloading

        containers coast-wide. JA0507-0508.

              Undaunted by this lack of evidence, SCPSA argues that the lawsuit is not

        work-preservative because the ILA-represented employees never did the lift-

        equipment work “at any terminal in the Port of Charleston.” PB at 33. SCSPA

        further argues that “the fact that ILA members have done lift-equipment work for

        some employers in their multi-employer bargaining unit” is essentially

        irrelevant.   Id. (emphasis added).11    The Board explicitly rejected all these

        arguments:



        employees. . . [which] [i]n the shipping industry. . . is comprised of the multiple
        employers who are signatory to the [CBA].”); Bermuda Container Lines, Ltd., 192
        F.3d at 257; Cal. Cartage Co. v. NLRB, 822 F.2d 1203, 1206 (D.C. Cir. 1987)
        (starting work preservation analysis with consideration of the “unusual” features of
        the multi-employer, multi-port, West Coast longshore unit); Int’l Longshore &
        Warehouse Union v. NLRB, 978 F.3d 625, 630-631 (9th Cir. 2020) (same).
        11
           Moreover, SCSPA erroneously focuses its argument on the work performed by
        state employees in Charleston “for decades.” Any extra-unit effect on the
        employment opportunities of the state employees is entirely irrelevant here.

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                    As in the ILA cases, the collective-bargaining agreements
                    in issue cover coast-wide units. The Master Contract
                    provides that it is the full complete agreement on “issues
                    relating to the employment of longshore employees on
                    container and ro-ro vessels and container and ro-ro
                    terminals in all ports from Maine to Texas at which ships
                    of USMX carriers and carriers that are subscribers to this
                    Master Contract may call.” The Master Contract
                    incorporates the Containerization Agreement, which is
                    substantially the same as the Rules and which provides
                    that: Management and the Carriers recognize the existing
                    work jurisdiction of ILA employees covered by their
                    agreements with the ILA over all container work which
                    historically has been performed by longshoremen and all
                    other ILA crafts at container waterfront facilities. Carriers,
                    direct employers and their agents covered by such
                    agreements agree to employ employees covered by their
                    agreements . . . .

        JA1331.

              Consistent with the Supreme Court’s mandate to focus on the bargaining

        unit work, the Board correctly defined the work that the ILA seeks to preserve as

        the “loading and unloading of containers generally at East and Gulf Coast ports,”

        JA1332, mirroring the work definitions found in the ILA cases. ILA I, 460 U.S. at

        507-08 (remanding to the Board with instructions to “focus on the work of the

        bargaining unit employees” of the coast-wide unit); ILA II, 473 U.S. at 77, n.17.




        NLRB v. Int’l Longshoremen’s Ass’n, 473 U.S. 61, 77-78 (1985) (“ILA II”) (“[T]he
        effect of work preservation agreements on the employment opportunities of
        employees not represented by the union, no matter how severe, is of course
        irrelevant. . . so long as the union had no forbidden secondary purpose.”).

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        (endorsing the Board’s definition, that the work being preserved was simply “the

        work of loading and unloading containers” in the coast-wide bargaining unit.).

              Analysis of the work preservation doctrine “must be carefully focused: to

        determine whether an agreement seeks no more than to preserve the work of

        bargaining unit members, the Board must focus on the work of the bargaining

        unit employees, not on the work of other employees who may be doing the same or

        similar work.” ILA I, 447 U.S. 490, 507 (emphasis added); Nat’l Woodworkers

        Mfrs. Ass’n, 386 U.S. at 646 (affirming Board’s finding that “the objective of the

        [challenged clause] was preservation of work traditionally performed by the jobsite

        carpenters.”). The proper inquiry focuses on whether the union’s conduct is

        “addressed to the labor relations of the contracting employers vis-a-vis their

        own employees, or tactically calculated to achieve union objectives elsewhere.”

        386 U.S. at 644; see also ILA II, 473 U.S. at 81.

              In this case, the ILA’s lawsuit was directed solely at its own contracting

        employers in order to protect the work of those employers’ employees in the coast-

        wide bargaining unit. As the Board correctly observed, “ILA I and II demonstrate

        that the Board must look beyond the locus of a dispute” and to the work performed

        by the ILA’s coast-wide unit. JA1332 (emphasis supplied). “[T]he place where

        work is to be done often lies at the heart of the controversy, and is seldom relevant

        to the definition of the work itself.” ILA II, 473 U.S. at 77; see also Int’l Longshore


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        & Warehouse Union v. NLRB, 978 F.3d 625, 639 (9th Cir. 2020) (the analysis must

        be “focused on bargaining unit workers rather than non-unit workers currently doing

        the same or similar work; unconcerned with the work's precise location and

        accommodative toward change (or even the threat of change), including the

        elimination of traditional work.” (emphasis added)).

              During the Bermuda Container Line dispute, the Board’s Division of Advice

        was given two occasions to evaluate the exact no-subcontracting clause on which

        the ILA’s lawsuit was based in this case. First, the Division opined that the Master

        Contract’s no-subcontracting clause was crafted to limit “the ILA’s work

        preservation objective to subcontracting within the coast-wide bargaining unit,”

        which is a “single, coast-wide bargaining unit up and down the Atlantic and Gulf

        Coasts. . ..” Int’l Longshoremen’s Ass’n (Bermuda Container Line), Case No. 4-

        CE-107, 1996 WL 34551969 (Div. of Advice, Dec 13, 1996). The following year,

        the Division explained further:

                    [A] contract clause restricting subcontracting has a valid
                    work preservation object, or is “primary,” if a majority of
                    the work in question has traditionally been performed by
                    employees in the bargaining unit even if it is a
                    multiemployer unit and the employees of a particular
                    employer member of that unit have never performed
                    that work.

        Int’l Longshoremen’s Ass’n (Bermuda Container Lines), 1997 WL 731472, at *2

        (N.L.R.B. Div. of Advice, August 22, 1997) (emphasis added); see also Bermuda


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        Container Line Ltd., 192 F.3d at 257 (holding that the Master Contract “was

        designed to preserve the work of ILA employees in the coast-wide bargaining

        unit”).

                     b)     Proof of an imminent threat is not required every time a valid
                            provision is enforced

              SCSPA maintains that there is no “genuine threat resulting from the new

        terminal’s use of the existing hybrid model.” PB at 38. The Board rejected this

        argument: “To the extent that a showing of job loss or threat thereof is required, it

        has been satisfied by the history of containerization and its effect on the number of

        longshoremen.” JA1333. The no-subcontracting provision was negotiated in

        circumstances “when employees’ traditional work [was] displaced, or threatened

        with displacement, by technological innovation,” namely containerization. ILA I,

        447 U.S. at 505. The no-subcontracting provision was the parties’ negotiated

        response to those circumstances. The provision does not simply expire because it

        has been used and enforced—or even not enforced—for a period of time. The ILA

        is still entitled to the benefit of its bargain today. 12 Moreover, the very nature of a



        12
           SCSPA echoes Member Ring’s dissent again, when he argues that the no-
        subcontracting clause can no longer be enforced because we are no longer “back in
        1960s or 1970s.” JA0134. Of course the provision has been enforced many times
        since then. Regardless, if he is correct that the Board can simply release the carriers
        from their contractual promise not to subcontract after a certain amount of years,
        how does the ILA get the benefit of its bargain? Does that mean that the bargaining
        unit will be released from its corresponding promise to handle shipping containers?

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        work-preservation clause is to act proactively to preserve work before it escapes the

        unit, a union does not have to wait until the work is actually lost before it can enforce

        its contract.

              Regardless, the threat posed by the unfettered expansion of the hybrid model

        is real. SCSPA argues that the ILA is seeking to “acquire . . . the lift equipment

        jobs at Leatherman Terminal that are and have been performed by state employees

        for decades.” PB at 32. But that is a false premise; Leatherman is a new terminal

        and no one has worked there at all—let alone for decades—and there will be no jobs

        there unless SCSPA acquires additional business to fill its additional capacity. This

        underscores the reality that if Leatherman Terminal represents “work acquisition”

        for any party, it is SCSPA. Indeed, the reason Leatherman was built was to acquire

        additional business. 13 JA0581. Leatherman represents new, additional capacity for

        containers; it is not intended to replace any terminals. Where will this additional

        cargo come from? Obviously, SCSPA hopes it will come either at the expense of

        its competitors on the East and Gulf Coasts by siphoning off discretionary cargo

        currently being brought to other ports, or by capturing a larger share of new

        discretionary cargo—for example, cargo that is being attracted from the West



        13
          If this was not already self-evident, the Governor of South Carolina concedes this
        point, stating: “South Carolina is also in the midst of an aggressive program to
        expand interstate capacity along I-26 to handle the anticipated growth in container
        volume from the Leatherman Terminal.” GB 5.

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        Coast.14 It is not difficult to see that whatever happens at Leatherman will set a

        precedent for all new terminals, not just in the Southeast, but everywhere on the

        East and Gulf Coasts.

              Thus, SCSPA seems to presume that it has a legal right to compel ocean

        carriers to bring their containers to Charleston in increasing amounts to fill whatever

        capacity SCSPA intends to build. SCSPA’s testimony at the hearing was consistent

        with this entitled attitude: “I can say with certainty that we invest a billion dollar in

        new facilities to assimilate growth . . . yes, we're growth oriented, and we open new

        terminals to—to assimilate growth. And that’s international cargo; we don’t do

        domestic cargo here.” JA0154; see also JA0053 (the Ports Authority is “owned by




        14
           The SCSPA’s 2021 presentation before the South Carolina Ways and Means
        Committee repeatedly emphasized the importance of growing its discretionary
        cargo base (e.g., retail and e-commerce consumer goods), noting that “an
        overall shortage of space/capability in US creates opportunity” for doing so.
        See Jim Newsome & Barbara Melvin, South Carolina Ports 2021, pp. 14-17,
        “Priority 3: Growing Our Cargo Base and Altering Our Focus.”
        https://www.scstatehouse.gov/         CommitteeInfo/Ways&MeansMeetingHandouts/
        EconomicDevelopment/SC%20Ports%20Authority%20FY%2021-22%20Budget%
        20Request.pdf. This report also described the SCSPA’s ambition to increase its
        share of discretionary cargo bound for inland destinations, stating that its
        investments in its intermodal rail capacity will “expand[] rail reach beyond
        traditional Southeast.” Id. at p. 20 (emphasis added). It further states that “a new
        cargo base focus is required to sustain above market growth” such that “a significant
        pivot is required into retail distribution.” Id. at 15.

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        State of South Carolina, and is given a statutory mission to foster the growth of

        waterborne commerce in South [Carolina].”); JA0072, JA0074, JA0581.15

                However, a carrier’s contractual commitment to any one marine terminal lasts

        only as long as it takes to unload and load the vessel. This fact is borne out by the

        evidence here where carriers told SCSPA that if SCSPA could not accommodate the

        carriers’ request, the carriers would “skip” Charleston altogether. JA0137-0139;

        JA0611-0612; JA0938. On the other hand, signatory carriers do have an ongoing

        contractual commitment to the bargaining unit. And to the extent that containerized

        cargo is being carried by the ILA’s employers, destined for the East or Gulf Coast,

        all those containers have already been contractually earmarked for the bargaining

        unit.

                SCSPA admitted that the hybrid model is attractive for carriers precisely

        because of the lower labor costs. SCSPA testified that paying bargaining unit wages

        and benefits is “more expensive”: “[W]e have the hybrid operating model in the

        South Atlantic ports. . . A deviation from that would put us at a competitive

        disadvantage, you know, relative to any new terminal or any facility that had to

        operate a more expensive model.” JA0092; JA0084. SCSPA’s statements in public




        15
           The amicus brief of the Chamber of Commerce discusses at length about how
        carriers have recently been bringing more discretionary cargo to the East Coast
        instead of the West Coast as they used to do. CCB 21-22.

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        records also belie its claims that there is not a threat to bargaining unit work in other

        ports, see e.g., supra fn 14.

                     c)     As in the ILA cases, the ILA’s enforcement of the Master
                            Contract’s work preservation clause is valid, primary
                            activity
              SCSPA maintains further that any work preservation objective requires a

        “massive technological change.”         But work-preservation does not require

        technological displacement. ILWU, 978 F.3d at 639. (“Neither [ILA] case suggests

        its work preservation framework should be reserved only for particularly complex

        cases of technological displacement.”).         ILA I specifically contemplates its

        application to the “‘simple case’ and the ‘more complex cases [of technological

        displacement]’ . . . and that in either situation the inquiry remains the same.” Int’l

        Longshore & Warehouse Union, 371 N.L.R.B. No. 125, slip. op. 4 (Aug. 18,

        2022) (quoting ILA I, 447 U.S. at 507).          The ILA cases merely expand on

        general work preservation law where, as here, a union tries to react to changed

        circumstances of any sort, instead of simply “respond[ing] to change with

        intransigence.” ILA I, 447 U.S. at 506 (quotations omitted).
              Here, the Board rejected SCSPA’s argument:
                     [I]n characterizing the ILA cases as inapposite, the dissent
                     chooses to overlook the fact that the Court there found that
                     ILA’s attempt to enforce the Rules on Containers was
                     lawful work preservation notwithstanding that the work in
                     question—the stuffing and stripping of containers— was
                     not historically longshore work. Here, as in the ILA cases,
                     the ILA is merely seeking to enforce the Master Contract
                     and the Containerization Agreement (which is


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                     substantially the same as the "Rules on Containers") in
                     order to prevent the erosion of unit jobs in the coast-wide
                     unit.
        JA1332-1333.

              In other words, it is easier to see the work preservation object here than in

        ILA I and II. Stuffing and stripping containers was new work that the bargaining

        unit had never done before, but the Master Contract claimed it because it was the

        functional equivalent of loading ships. The reviewing tribunals had to stretch their

        imagination to see the connection. But using cranes to take cargo off ships and store

        it on the docks has been done since the Age of Sail. Operating shore-based cranes

        and container-lift equipment is the actual, current work of the bargaining unit. The

        contractual provision that the ILA seeks to enforce here is not something that

        describes a specific new task, rather the provision is just a generic no-subcontracting

        clause protecting current work.

                     d)     The single employer cases cited by SCSPA are irrelevant

               Ignoring the surfeit of multi-employer cases from the longshore industry that

        are exactly on point—including one case from this Court—SCSPA instead fixates

        on Marrowbone Development Co. v. Dist. 17, United Mine Workers, 147 F.3d 297

        (4th Cir. 1998), which is about the coal mining industry. But far from undermining

        the ILA’s position, Marrowbone is completely consistent with it. Indeed, that

        becomes clear even by the way SCSPA describes the case in its brief. SCSPA



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        argues that the “work at issue” must have been traditionally performed in the

        bargaining unit. PB 33-34. Given that SCSPA has admitted that the Master

        Contract bargaining unit is a multi-employer bargaining unit, the logical inference

        from those quotations is that the enforcement of the no-subcontracting clause does

        not violate the Act when it requires the employers—such as Hapag Lloyd and

        OOCL—to preserve the containerized cargo for their ILA-represented employees.

              The key distinction in Marrowbone is that there was a single-employer

        bargaining unit. 147 F.3d at 302. After formation, the workers in the bargaining

        unit had demanded that the employer accept provisions in a national agreement that

        the employer had no role in negotiating. Id. at 299-300. As a result, the fact that

        other bargaining units had done the work in question was irrelevant, when it had

        never been done in the Marrowbone unit. Id. at 303. SCSPA tries to analogize

        Marrowbone by asking this Court to look at the “Charleston bargaining unit,” but

        there is no such bargaining unit for the Master Contract. JA0434; JA1119-1120.

              SCSPA next cites a case from the D.C. Circuit—not one of the D.C. Circuit

        cases that analyze that Master Contract or the longshore industry—but rather a case

        involving a real estate company in Brooklyn. Local 32B-32J Service Emps. Int’l

        Union v. NLRB, 68 F.3d 490 (D.C. Cir. 1995). Local 32B-32J also involves a

        single-employer unit—consisting of two people. The form contract that the

        employer had signed was facially legal. However, it listed cleaning staff in the


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        bargaining unit, even though this bargaining unit (a porter and a superintendent) had

        never included cleaning staff. Based upon this error, the union demanded that the

        employers subcontract to an entity that hired local members to do the cleaning, but

        the court said this was “work acquisition” because the bargaining unit “had never

        meaningfully done the cleaning work.” Id. at 495. The court found that using

        erroneous information and the employer’s carelessness to force the employer to

        bring new work into the unit was a clear violation of Section 8(e). Thus, the key

        factor again was an analysis of the reality of the bargaining unit.

              In this case, the language of the Master Contract unit has been carefully

        negotiated and crafted over the past six decades in coast-wide, multiemployer

        bargaining. The scope of the multiemployer coast-wide bargaining unit is

        clear. The description of work jurisdiction is clear. The no-subcontracting clause

        is also clear, and has been assented to by all the unit employers repeatedly; and it is

        undisputed that the ILA-represented coast-wide bargaining unit performs the lift-

        equipment work at ports all across the East and Gulf Coasts.

              2.    The Board’s Finding That the Carriers had the Right of Control
                    Over the Work in Question was Based on Substantial Evidence

              SCSPA argues that the carriers here lack the right of control over the “work

        sought by the union.” PB at 42. But SCSPA is entirely alone in this view. In this

        case, both the ALJ and the Board found that carriers have the right to control with




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        whom they choose to contract for loading and unloading their cargo. There was

        substantial evidence for the Board to find as follows:

                     USMX and its carrier members have sufficient control
                     over the work in question—the loading or unloading of
                     containers they own or lease. . . USMX carriers have the
                     authority to bypass the Port of Charleston and call on other
                     ports where ILA-represented employees perform all
                     loading and unloading work. Therefore, USMX carriers
                     have the right to control who performs loading and
                     unloading work of their containers.

        JA1332. Indeed, it would be difficult for the Board to have found otherwise

        in this case, because, in addition to the evidence in this record, all the legal

        precedent supports the Board’s finding.16




        16
           SCSPA cites only to one decision from the Ninth Circuit to support its argument
        that the carriers lack the right of control over which terminals they choose to contract
        with for the purpose of stevedoring their cargo: Hooks ex rel. NLRB v. Int’l
        Longshore & Warehouse Union, 544 F. App’x 657, 658 (9th Cir. 2013). However,
        the Hooks case was very different because there the union was demanding that the
        terminal operator ICTSI assign specific jobs to the union at ICTSI’s terminal—
        something the Board had already held ICTSI had no control over. Here, the ILA is
        not suing the terminal operator CSC, nor is it asking CSC to reassign any jobs
        anywhere. The ILA is only seeking to enforce what the carriers have already agreed
        to: control where they send their containers to. In a case decided after Hooks, the
        Ninth Circuit unequivocally agreed that carriers control where their containers go.
        American President Lines v. ILWU, 611 F. App’x 908, 911 (9th Cir. 2015) (holding
        no issue of fact as to whether carriers control work performed on their containers).
        Thus, if it is true in Hooks that the union “conflated” the carriers’ right to control
        their containers with the right to assign specific jobs at a specific terminal, then here
        SPSCA is conflating things in the opposite way, arguing that since the carriers do
        not have the right to assign jobs at a specific location, then they do not have the right
        to refrain from contracting with that terminal in the first place.

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              Taking its cue from Member Ring’s dissent, SCSPA rests its argument almost

        entirely on one case that SCSPA did not even bother to cite in its briefs in front of

        the Board. In Pipefitters, the Supreme Court gave its formal approval to the

        “‘Board’s control’ test, under which the union commits an unfair labor practice

        under § 8(b)(4)(B) when it coerces an employer in order to obtain work that the

        employer has no power to assign.” NLRB v. Enter. Ass’n of Pipefitters Local 638,

        429 U.S. 507, 521 (1977) (“Pipefitters”). But Pipefitters is hardly a recent decision,

        and given that it was decided before both ILA I and II, all the courts who have

        considered the Master Contract’s work-preservation provisions to date were well

        aware of Pipefitters and indeed ruled that the Master Contract’s work preservation

        provisions passed the “Pipefitters test.” E.g., ILA I, 447 U.S. at 504–05 (“the

        contracting employer must have the power to give the employees the work in

        question—the so-called ‘right of control’ test of Pipefitters . . . In Pipefitters the

        object of the strike was to obtain work controlled not by the subcontractor, with

        whom the steamfitters had agreed to the lawful work preservation clause, but by the

        main contractor.”); ILA II, 473 U.S. 61, 74 n. 12 (1985) (“In this case, the ALJ,

        Board, and Court of Appeals have unanimously concluded that the longshoremen’s

        employers, marine shipping companies, have the ‘right to control’ container loading

        and unloading work by virtue of their ownership or leasing control of the containers.




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        See 734 F.2d, at 978; 266 N.L.R.B., at 234, 260-267. Thus the Pipefitters test is

        satisfied here.”).

               In ILA I, the Supreme Court distinguished Pipefitters by noting that carriers

        in the longshore industry were more like the general contractor in that case as

        opposed to the subcontractor. 447 U.S. at 504–05. SCSPA disagrees with the

        Supreme Court. PB at 46. Like a general contractor, the carriers control the work

        and select another entity to perform the loading and unloading work on the carriers’

        cargo to their specifications. Likewise, the carriers have a wide selection of

        “subcontractors” who compete with each other for the carriers’ business.

               In ILA I, the D.C. Circuit explained exactly why the carriers (referring to them

        as “the shippers”) are the general contractor—they control the work:

                      [The] shippers[,] the employers of the boycotting ILA
                      members in these cases, and the coerced employers under
                      Pipefitters[,] controlled the disposition of all the
                      containers at issue . . . Thus when the relevant Container
                      Committees found the shippers in violation of the Rules
                      and fined them, the shippers, after unsuccessfully seeking
                      indemnification from the truckers and consolidators,
                      simply refused to supply their containers to the truckers
                      and consolidators . . . It is difficult to imagine a more
                      forceful demonstration of control.

        Int’l Longshoremen's Ass’n v. NLRB, 613 F.2d 890, 912–13 (D.C. Cir. 1979). The

        carriers have discretion with whom they subcontract, they can dictate specifications

        to the subcontractors, and if the subcontractors cannot or will not agree, the carriers

        can look elsewhere.

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              In the longshore industry, containers (and other sorts of cargo) are the work.

        This is why the ILA cannot be seeking “the work” at Leatherman Terminal, because

        “work” at any one marine terminal is contingent on cargo being brought there.

        Longshore job assignments are only theoretical until cargo arrives. If there is no

        cargo, longshore workers are not hired. And unlike other industries, where work is

        fixed to a location, cargo is mobile, and waterborne cargo especially so.

              It is unlike coal mining work, which is tethered to the coal mine. See

        Marrowbone, 147 F.3d 297. In the coal industry, whoever controls the mine site

        controls the work, but in the longshore industry, whoever controls the cargo controls

        the work. Containerized cargo can be relocated very quickly, and that happens

        frequently. For example, the amicus brief of the Chambers of Commerce cites to

        news articles reporting that “[p]otential for labor-driven disruption as a result of the

        ongoing International Longshoremen and Warehouse Union labor negotiations on

        the West Coast has already driven shippers to divert traffic to ports on the East

        Coast.” CCB at 21-22.

              Likewise, in Am. Trucking, as affirmed by the Supreme Court, this Court

        observed:

                    Up until the Court decided ILA, no one seriously
                    contended that the Rules violated the Act for failure to
                    meet the ‘right of control’ test of Pipefitters . . . the
                    argument that the shipping lines do not have the right to
                    control the container work sought by the longshoremen
                    lacks any semblance of merit . . . In sum, the Board had

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                    little difficulty finding that the shipping lines retain the
                    right to control the allocation of the work sought by the
                    ILA under the Rules. Substantial evidence exists to
                    support this finding.

        734 F.2d at 978; see also Am. President Lines v. Int’l Longshore & Warehouse

        Union, 997 F. Supp. 2d 1037, 1046-47 (D. Alaska 2014), aff’d. 611 F. App’x 908

        (9th Cir. 2015) (Carriers “control[] where [the carriers’] containers go, when they

        go, where they go, when they get there, and who takes them.”); ILWU, Local 13

        (Cal. Cartage), 278 N.L.R.B. 220, 223 (1986) ([“Carriers] control the use of the

        containers.”), enf. in part, Cal. Cartage Co. v. NLRB, 822 F.2d 1203 (D.C. Cir.

        1987); ILA & its Local 1291 (Holt Cargo), 4-CC-2124-1, 1996 WL 625508

        (N.L.R.B. Div. of Advice 1996) (“[C]arriers . . . generally have the right to control

        the assignment of work since, by virtue of their ownership and/or long-term

        leasehold interest in the containers, they have the authority to prescribe the

        conditions of the containers’ release to subcontractors.”); ILA v. NLRB, 613 F.2d at

        912-13; Int’l Longshoremen's Ass'n, Local 1242 (Rail Distribution Ctr., Inc.), No.

        4-CC-1955-1, 1992 WL 396134, at *3 (N.L.R.B. Division of Advice) (Nov. 9,

        1992) (carriers’ ownership or long-term lease of containers suggests that carriers

        have the authority to designate the routing and direction); Steamship Trade Ass’n of

        Baltimore (ILA Locals 333 & 953), 1989 WL 1705876 (N.L.R.B. Div. of Advice

        1989) (same); see also ILA II, 473 U.S. at 74, n. 12.




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               The issue in Pipefitters was not whether the provision was unlawful. See ILA

        I, 447 U.S. at 509. Rather, the unfair labor practice in Pipefitters resulted from the

        way in which the union enforced the provision. 429 U.S. at 514. SCSPA concedes

        that the union could have legally enforced the agreement when it argues, “[i]n both

        Pipefitters and IBEW No. 501, the subcontractors could have refused to contract

        with the general contractors unless their own union-represented employees

        performed the disputed work.” PB at 46 (emphasis added). What Pipefitters says is

        that the union was not entitled to threaten its employer after the employer had

        entered into a contract with a general contractor at the site.17 Indeed, SCSPA seems

        to concede this as well: “Like the subcontractors in those cases, USMX and its

        carrier-members could have decided not to contract with SCSPA, rather than accept

        this division of labor.” PB at 46. That is precisely what the Master Contract

        requires: not to contract with entities who do not give the contractual work to the

        bargaining unit. Moreover, nothing in Pipefitters says that the union is prohibited

        from suing for damages. 429 U.S. 507.

               The point of the “right-to-control” test is whether the targeted employers have

        the power to accede to the union’s demands. Id. at 521-22 (the issue is whether the

        employer “did have the power to settle the dispute with the union”); George Koch


        17
          Conversely, there are also situations where the employer is at fault for deliberately
        contracting away its right of control in order to avoid its contractual obligations to
        the union, but that is not what the ILA is arguing here.

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        & Sons v. NLRB, 490 F.2d 323, 326 (4th Cir. 1973) (if the employer is “not legally

        empowered to meet his employees’ demand, then they cannot lawfully strike him

        for his failure to accede.”). Here, the carriers are able to accede to the ILA’s

        demand because the carriers have many other available terminals on the East and

        Gulf Coast (including the other terminals in Charleston and Savannah where the

        ILA has agreed to maintain the status quo.) And the carriers have acceded by not

        calling on Leatherman Terminal. JA0608-0612; JA0635.

              That is the fallacy in SCSPA’s argument—that the carriers are “neutrals” with

        whom the ILA has no dispute. But the carriers are the primary employers under

        the Master Contract. Bermuda Container Line, 192 F. 3d 250, 257 (2d Cir. 1999)

        The record is replete with testimony explaining the dispute between the bargaining

        parties about the proper interpretation of the no-subcontracting clause in the Master

        Contract with respect to Leatherman. USMX and carrier representatives repeatedly

        told SCSPA that there was a disagreement with the ILA that would likely need to

        be arbitrated. JA0184 ll: 7-10; 0207 ll: 12-25; 0210. USMX’s counsel Donato

        Caruso explicitly testified the same: “[T]hat would require a determination to be

        made whether the language that the Union was relying on, which was in the contract

        for many years, particularly the containerization provisions of the contract, and the

        jurisdiction provisions, that there would be a need to have that issue resolved,




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        possibly through arbitration.” JA0315. This shows a straightforward contractual

        dispute between a union and its primary employers.

              SCSPA’s brief begrudgingly acknowledges, as it must, that carriers do control

        with whom they subcontract. But SCSPA then argues against a straw man, arguing

        that ocean carriers have no right to control the assignment of jobs at Leatherman.

        As already discussed, nothing in the ILA’s lawsuit says that the ILA is demanding

        reassignment of jobs at Leatherman (or anywhere else), but SCSPA argues that the

        only reason that the ILA would want to enforce the no-subcontracting language

        would be to force the reassignment of jobs at Leatherman.            That argument

        deliberately misunderstands the nature of work preservation in the coast-wide

        bargaining unit.
               Perhaps because everyone likes to think that they are the main character in

        the movie, SCSPA argues as though the 60-year old Master Contract is directed

        entirely at SCSPA. But SCSPA is barely a bit player here.18 The goal of the no-


        18
           The amicus briefs of the Chambers of Commerce and the Governor of South
        Carolina discuss the alleged economic harm caused by the ILA’s lawsuit. Yet, even
        though Leatherman has been under dispute since the spring of 2021, last year (2022)
        was “the most successful fiscal year in our port’s history,” according to SCSPA’s
        own annual report. https://scspa.com/about-the-port/publications/annual-report.
        The reports of economic harm seem exaggerated. Regardless, the Supreme Court is
        explicit that these alleged effects are irrelevant: “So long as the union had no
        forbidden secondary purpose’ to disrupt the business relations of a neutral employer,
         . . . such effects are ‘incidental to primary activity.’” ILA II, 473 U.S. at 79.
        Consistent with this precedent, the Board explained that a secondary effect on the
        State and SCSPA is different from a union’s secondary purpose; “the former, no
        matter how consequential, is incidental to a lawful primary purpose.’” JA1332.
        (emphasis in original).

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        subcontracting clause is to preserve cargo by keeping it within the bargaining unit.

        Thus, if a ship stops calling in New Jersey, and starts calling at Baltimore, the

        Master Contract has not been violated—even though the individual workers in New

        Jersey have lost hours—because the work has been preserved for the whole unit.

        Within the confines of the bargaining unit, carriers are free to seek out the most

        favorable deal; a signatory carrier is “free to subcontract unit work at any time so

        long as it agrees to ‘use employees covered by the Master Contract’ to stevedore its

        vessels within the single, coast-wide bargaining unit up and down the Atlantic and

        Gulf Coasts . . .”. Bermuda Container Line, 1996 WL 1250062, at *7.
              SCSPA makes two curious arguments that betray a mischaracterization of the

        primary employer relationship. SCSPA first attempts to distinguish the ILA cases

        by explaining that container stuffing was sometimes done by the carriers’ ILA-

        represented employees, whereas in other cases they “contracted out” the stuffing.

        PB at 48. The situation is the exact same here: in most East Coast ports, lift

        equipment is operated by the carriers’ ILA-represented employees, whereas in the

        Port of Charleston they are contracting out that work. Then, SCSPA says the lawsuit

        is not intended to coerce “the carriers to change their work assignments.” PB at 47

        (emphasis in original), but that is exactly what the lawsuit seeks.

              Most tellingly, SCSPA’s brief ignores the Bermuda Container case entirely,

        even though both the ALJ and the Board relied upon it. Just as here, in Bermuda




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        Container, the carrier BCL argued that the ILA’s “real” dispute was with the marine

        terminal operator in Salem, New Jersey, and that BCL was a disinterested neutral.

        The ILA argued as follows to the Second Circuit:

                    The defect in BCL’s scenario is that there is no dispute
                    between the ILA and the Salem stevedore and BCL is not
                    an innocent bystander. The facts show that ILA’s dispute
                    is with BCL to get BCL to comply with the contractual
                    commitment it made in the Master Contract to use
                    bargaining unit employees for its operations. Pressuring a
                    party to a labor contract to assign work to the employees
                    covered by that agreement is classic primary activity.

        Bermuda Container Line Ltd. v. Int'l Longshoremen’s Ass’n, 99-7164, Appellee’s

        Br., p. 25 n. 7 (2d Cir. Apr. 26, 1999). The Second Circuit had no difficulty rejecting

        the employer’s argument in that case, see Bermuda Container Line Ltd., 192 F.3d

        250, 257 (2d Cir. 1999) (finding that the “Container Agreement by prohibiting

        BCL’s proposed move preserves work within the primary employment

        relationship”), and SCSPA fares no better here. Decades after the Second Circuit

        decision in Bermuda Container, there are still zero ILA-represented workers in the

        Port of Salem, because acquiring the jobs in Salem was never the goal of the no-

        subcontracting clause.

              Just as the ILA did not have to acquiesce when Bermuda Container took its

        cargo away from members of the bargaining unit, the ILA does not have to sit idly

        by while a limited carve-out of the unit’s jurisdiction at the existing terminals in

        only three ports may now be increased exponentially by the expansion of one of

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        those ports (and create the precedent for future new terminals in other ports).

        JA0043, ll. 1-4; JA0072:17-25; JA0073:12-17; JA0153:22-25-0154:1; JA0154:16-

        23; 0263:7-22.

                                                 II.

                    THE BOARD CORRECTLY DETERMINED THAT
                  ARTICLE 7, SECTION 7 OF THE MASTER CONTRACT
                               WAS NOT UNLAWFUL

               SCSPA also challenges the Board’s unanimous determination that Article

        VII, Section 7 of the Master Contract 19 is not an unlawful “hot cargo” agreement

        under Section 8(e) of the Act. Section 8(e) prohibits an employer and a labor

        organization from entering into any contract or agreement, express or implied,

        whereby the employer agrees “to cease or refrain from handling, using, selling,

        transporting or otherwise dealing in any of the products of any other employer, or

        cease doing business with any other person.” 29 U.S.C. § 158(e).
               The Board’s test for evaluating the lawfulness of a contract provision under

        Section 8(e) has remained the same for over fifty years:

                     [I]f the meaning of the clause is clear, the Board will
                     determine forthwith its validity under 8(e); where the
                     clause is not clearly unlawful on its face, the Board will
                     interpret it to require no more than what is allowed by law.
                     On the other hand, if the clause is ambiguous, the Board

        19
          SCSPA takes a broad view asserting that the Board held that “the Master Contract
        does not violate Section 8(e).” PB at 5 (emphasis supplied). The issue raised in the
        Complaint was far narrower: Whether the ILA, Local 1422, and USMX violated
        Section 8(e) by entering into or re-affirming the provisions in Article VII, Section 7
        of the Master Contract, not the agreement as a whole. JA0409–0410.

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                     will not presume unlawfulness, but will consider extrinsic
                     evidence to determine whether the clause was intended to
                     be administered in a lawful or unlawful manner. In the
                     absence of such evidence, the Board will refuse to pass on
                     the validity of the clause.

        Teamsters Local 982 (J.K. Barker Trucking Co.), 181 N.L.R.B. 515, 517 (1970),

        enfd. 450 F.2d 1322 (D.C. Cir. 1971).

               Applying longstanding precedent to a common-sense reading of Article VII,

        Section 7, the Board found the clause a facially valid one that lawfully requires

        USMX to give notice to ports authorities that its members may be prohibited from

        calling under certain circumstances, but does not require any employer to cease

        doing business with any entity.20 JA1328.

               SCSPA abandons the claim it made before the Board—that Article VII,

        Section 7 is facially unlawful—instead arguing that “extrinsic evidence here reveals

        the parties’ intentions,” and, “[i]t could not be clearer that . . . both parties

        understood and agreed that, as a practical matter, USMX carrier-members would

        not call at such terminals.” PB at 53, 56. This claim is squarely at odds with the




        20
           Section 8(e) agreements are subject to the same work-preservation analysis the
        Board conducted with respect to the ILA’s lawsuit against USMX and its member
        carriers. See National Woodwork, 386 U.S. 612. The Board did not reach the
        question of whether Article VII, Section 7 had a proper work-preservation purpose.
        In the event that the Court finds that Article VII, Section 7 is an agreement subject
        to Section 8(e), the case should be remanded back to the Board to address the work-
        preservation defense.

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        record: both the ALJ and Board found that there was no such agreement with respect

        to Article VII, Section 7. JA0936; JA0942-0943.

              As Member Ring succinctly put it in his separate opinion concurring in the

        dismissal of the relevant charges:

                    [USMX’s former counsel, Donato Caruso] testified that
                    USMX’s understanding of Sec. 7(b) was that it did not
                    prohibit the hybrid model from being applied at new
                    terminals. In USMX’s view, the word ‘may’ in Sec. 7(b)
                    was meant to signify that the ILA might be able to
                    persuade an arbitrator that the Master Contract prohibited
                    carriers from calling at any terminal that is not exclusively
                    manned by ILA labor. Crediting Caruso’s testimony, the
                    judge dismissed the General Counsel’s allegation that Sec.
                    7(b), on its face, violates Sec. 8(e) of the Act. As stated, I
                    join my colleagues in adopting the judge’s dismissal of
                    this allegation.

        JA1335, n.6; 1334, n.4.

              Although SCSPA argued to the Board that Article VII, Section 7 is facially

        unlawful, JA1058, it apparently concedes the Board’s subsequent decision on this

        point, asserting instead to the Court that the clause is “ambiguous,” and arguing that

        extrinsic evidence demonstrates the parties’ unlawful intent. PB at 51-52. But such

        evidence must show a bilateral, or mutual, agreement to such an unlawful

        interpretation. E.g., Sheet Metal Workers Local 27 (AeroSonics, Inc.), 321 N.L.R.B.

        540, 540 n.3 (1996) (“[A]s a matter of law, solely unilateral conduct by a union, for

        example, a threat of picketing or the mere filing of a grievance, to enforce an




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        unlawful interpretation of a facially lawful contract clause does not violate Sec. 8(e)

        because such conduct does not constitute an ‘agreement.’”) (citations omitted).

              The evidence SCSPA musters demonstrates just the opposite: that USMX and

        the ILA had a dispute, not an agreement, about the interpretation of Article VII,

        Section 7. PB at 55-56 (listing communications in which member carriers expressed

        concerns about the lack of “resolution” or “agreement” between the ILA and

        USMX).

              SCSPA fails to acknowledge, much less address, the substantial evidence

        supporting the Board’s determination that “ILA, Local 1422, and USMX interpreted

        Section 7(b) differently and . . . that, absent a mutual understanding, the provision

        did not constitute an agreement to cease handling the products of, or cease doing

        business with, SCSPA.” JA1328, JA1350. 21

              SCSPA also ignores the bargaining history underlying the inclusion of Article

        VII, Section 7. During contract negotiations that resulted in the inclusion of Article

        VII, Section 7 in the agreement, the ILA attempted to obtain contract language that

        would have required USMX members to forgo calling at any port where any

        “receiving and delivery of cargo and all terminal work” was performed by non-ILA



        21
           This includes the testimony of the Ports Authority’s own President, James
        Newsome III, who admitted that USMX member carriers were telling him that the
        existence of a purported agreement was “an outstanding issue” that had “to be
        resolved between USMX and the ILA”. JA0172.

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        members. JA1344. But instead, the parties agreed on the language now found in

        Article VII, Section 7. Subsection 7(a) provided for a study to be performed to

        “convince” the Port of Charleston and two other ports where the hybrid model was

        employed that the work performed by state employees in those ports could be

        performed by Master Contract bargaining unit employees “in a more productive,

        efficient, and competitive fashion.” JA0449. This mutual effort to “convince”

        SCSPA of the superiority of employing bargaining unit labor would be unnecessary

        if Article VII prohibited the use of hybrid-model employees at terminals subject to

        an historical exception from the Master Contract’s jurisdiction. See JA0085,

        JA0145, JA0174 (Newsome describing Article VII, Section 7(b) as “permissive,”

        not “prescriptive,” because it “says ‘may’ instead of ‘shall’.”). 22

              SCSPA also contends that the fact that USMX member carriers refused to

        call at Leatherman Terminal is evidence that USMX tacitly interpreted Article VII,

        Section 7 as prohibiting its members from using the new terminal as long as it was

        operated by non-Master Contract bargaining unit employees. PB at 56–57. This is

        inconsistent with SCSPA’s claim that the ILA’s lawsuit—which does not invoke

        Article VII, Section 7—caused the member carriers to refuse to call at the

        Leatherman Terminal. It is also inconsistent with the record before the Board and


        22
           USMX and its member carriers have likewise repeatedly disavowed any
        prohibitory interpretation of Article VII, Section 7, which they view as a simple
        notice provision. JA0322–0325.

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        other portions of SCSPA’s brief, which show that USMX member-carriers refused

        to call at the Leatherman terminal after the ILA’s lawsuit was filed. PB at 13;

        JA1328.

              Thus, the Ports Authority has failed to demonstrate that the Board erred when

        it unanimously found that Article VII, Section 7 of the Master Contract is lawful

        under Section 8(e).

                                         CONCLUSION

              The petition for review should be dismissed.

        Dated: May 5, 2023
                                                      Respectfully submitted,

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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                      Effective 12/01/2016

           23-1059
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      (s) John P. Sheridan

      Party Name International Longshoremen’s Ass

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              I hereby certify that on May 5, 2023, I filed the foregoing to be filed

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              Dated: May 5, 2023

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